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                                                                   12/22/2021
                                                               Julia C. Dudley, Clerk
                                                               By: /s/ Susan Moody
                                                                    Deputy Clerk




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